USCA Case #23-3228     Document #2039001              Filed: 02/06/2024      Page 1 of 57




             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued January 9, 2024              Decided February 6, 2024

                                     No. 23-3228

                            UNITED STATES OF AMERICA,
                                    APPELLEE

                                          v.

                                 DONALD J. TRUMP,
                                   APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                (No. 1:23-cr-00257-1)



                D. John Sauer argued the cause for appellant. With him
            on the briefs were John F. Lauro, Gregory M. Singer, Emil
            Bove, William O. Scharf, and Michael E. Talent.

                Paul M. Dorsey, pro se, was on the brief for amicus curiae
            Paul M. Dorsey in support of appellant.

               Victor Williams, pro se, was on the brief for amicus curiae
            Law Professor Victor Williams in support of appellant.

                James I. Pearce, Assistant Special Counsel, U.S.
            Department of Justice, argued the cause for appellee. With him
            on the brief were J. P. Cooney, Deputy Special Counsel,
USCA Case #23-3228     Document #2039001              Filed: 02/06/2024       Page 2 of 57




                                          2
            Michael R. Dreeben and Raymond N. Hulser, Counselors to the
            Special Counsel, John M. Pellettieri and Cecil W.
            VanDevender, Assistant Special Counsels, and Molly Gaston
            and Thomas P. Windom, Senior Assistant Special Counsels.

                Richard D. Bernstein was on the brief for amici curiae
            Former Officials in Five Republican Administrations, et al. in
            support of appellee.

                Fred Wertheimer, Matthew A. Seligman, Seth P. Waxman,
            Colleen M. Campbell, Nathaniel W. Reisinger, David M.
            Levine, and Kyle T. Edwards were on the brief for amici curiae
            Former Government Officials and Constitutional Lawyers in
            support of appellee.

                 R. Stanton Jones and Andrew T. Tutt were on the brief for
            amicus curiae American Oversight in support of dismissal for
            lack of jurisdiction.

                Gene C. Schaerr and Justin A. Miller were on the brief for
            amici curiae Former Attorney General Edwin Meese III and
            Law Professors Steven G. Calabresi and Gary S. Lawson in
            support of neither party.

                Before: HENDERSON, CHILDS and PAN, Circuit Judges.

                Opinion for the Court filed PER CURIAM.

                 PER CURIAM: Donald J. Trump was elected the 45th
            President of the United States on November 8, 2016. He was
            sworn into office at noon on January 20, 2017, and served until
            his term expired at noon on January 20, 2021. At that moment,
            President Trump became former President Trump and his
            successor, Joseph R. Biden, became President and began his
            own four-year term. U.S. CONST. art. II, § 1. Although this
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024       Page 3 of 57




                                            3
            sequence is set by the Constitution, id. amend. XX, it did not
            proceed peacefully. Indeed, from election day 2020 forward,
            the government alleges that President Trump denied that he had
            lost his bid for a second term and challenged the election results
            through litigation, pressure on state and federal officers, the
            organization of an alternate slate of electors and other means.
            His alleged interference in the constitutionally prescribed
            sequence culminated with a Washington, D.C., rally held on
            January 6, 2021, the day set by the Electoral Count Act, 3
            U.S.C. § 15(a), for the Congress to meet in joint session to
            certify the election results. The rally headlined by President
            Trump resulted in a march of thousands to the Capitol and the
            violent breach of the Capitol Building. The breach delayed the
            congressional proceedings for several hours and it was not until
            the early morning of January 7th that the 2020 presidential
            election results were certified, naming Joseph R. Biden as the
            soon-to-be 46th President.

                 Since then, hundreds of people who breached the Capitol
            on January 6, 2021, have been prosecuted and imprisoned.
            And on August 1, 2023, in Washington, D.C., former President
            Trump was charged in a four-count Indictment as a result of his
            actions challenging the election results and interfering with the
            sequence set forth in the Constitution for the transfer of power
            from one President to the next. Former President Trump
            moved to dismiss the Indictment and the district court denied
            his motion. Today, we affirm the denial. For the purpose of
            this criminal case, former President Trump has become citizen
            Trump, with all of the defenses of any other criminal defendant.
            But any executive immunity that may have protected him while
            he served as President no longer protects him against this
            prosecution.
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 4 of 57




                                            4
                                  I. BACKGROUND

                 Former President Trump did not concede the 2020 election
            and, in the ensuing months, he and his supporters made
            numerous attempts to challenge the results. Many of their
            attempts were allegedly criminal.1 A District of Columbia
            federal grand jury indicted former President Trump on four
            criminal counts arising from the steps he allegedly took to
            change the outcome of the election: (1) conspiracy to defraud
            the United States by overturning the election results, in
            violation of 18 U.S.C. § 371; (2) conspiracy to obstruct an
            official proceeding — i.e., the Congress’s certification of the
            electoral vote — in violation of 18 U.S.C. § 1512(k); (3)
            obstruction of, and attempt to obstruct, the certification of the
            electoral vote, in violation of 18 U.S.C. §§ 1512(c)(2), 2; and
            (4) conspiracy against the rights of one or more persons to vote
            and to have their votes counted, in violation of 18 U.S.C. § 241.
            At this stage of the prosecution, we assume that the allegations
            set forth in the Indictment are true. United States v. Ballestas,
            795 F.3d 138, 149 (D.C. Cir. 2015). We emphasize that
            whether the Indictment’s allegations are supported by evidence
            sufficient to sustain convictions must be determined at a later
            stage of the prosecution.

                 The Indictment alleges that former President Trump
            understood that he had lost the election and that the election
            results were legitimate but that he nevertheless was
            “determined to remain in power.” Indictment ¶ 2. He then
            conspired with others to cast doubt on the election’s outcome
            and contrived to have himself declared the winner. The


                1
                   Former President Trump’s campaign and his supporters also
            unsuccessfully challenged the election results in several state and
            federal courts.
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024       Page 5 of 57




                                            5
            Indictment charges that he and his co-conspirators allegedly
            advanced their goal through five primary means:

                 First, they “used knowingly false claims of election fraud”
            to attempt to persuade state legislators and election officials to
            change each state’s electoral votes in former President Trump’s
            favor. Indictment ¶ 10(a). For example, he and his allies
            falsely declared “that more than ten thousand dead voters had
            voted in Georgia”; “that there had been 205,000 more votes
            than voters in Pennsylvania”; “that more than 30,000 non-
            citizens had voted in Arizona”; and “that voting machines . . .
            had switched votes from [Trump] to Biden.” Id. at ¶ 12.

                 Second, then-President Trump and his co-conspirators
            “organized fraudulent slates of electors in seven targeted
            states . . . attempting to mimic the procedures that the
            legitimate electors were supposed to follow.” Indictment
            ¶ 10(b). They “then caused these fraudulent electors to
            transmit their false certificates to the Vice President and other
            government officials to be counted at the certification
            proceeding on January 6.” Id.

                 Third, then-President Trump and his co-conspirators
            pressed officials at the Department of Justice “to conduct sham
            election crime investigations and to send a letter to the targeted
            states that falsely claimed that the Justice Department had
            identified significant concerns that may have impacted the
            election outcome.” Indictment ¶ 10(c).

                 Fourth, then-President Trump and his co-conspirators
            attempted to convince then-Vice President Mike Pence to “use
            his ceremonial role at the January 6 certification proceeding to
            fraudulently alter the election results.” Indictment
            ¶ 10(d). When the Vice President rebuffed them, he stirred his
            base of supporters to increase pressure on the Vice President.
            See id. at ¶¶ 10(d), 96, 100. Ultimately, on the morning of
USCA Case #23-3228      Document #2039001                  Filed: 02/06/2024        Page 6 of 57




                                             6
            January 6, 2021, he held a rally in Washington D.C. where he
            “repeated knowingly false claims of election fraud to gathered
            supporters” and “directed them to the Capitol to obstruct the
            certification proceeding and exert pressure on the Vice
            President to take the fraudulent actions he had previously
            refused.” Id. at ¶¶ 10(d), 90(c).

                 Fifth, and finally, from the January 6 rally, thousands of
            his supporters — “including individuals who had traveled to
            Washington and to the Capitol at [his] direction” — swarmed
            the United States Capitol, causing “violence and chaos” that
            required the Congress to temporarily halt the election-
            certification proceeding. Indictment ¶¶ 107, 119, 121. At that
            point, he and his co-conspirators “exploited the disruption by
            redoubling efforts to levy false claims of election fraud and
            convince Members of Congress to further delay the
            certification.” Id. at ¶ 10(e).

                 Then-President Trump’s efforts to overturn the election
            results were unsuccessful and the Congress certified the
            Electoral College vote in favor of President-Elect Biden.
            Indictment ¶ 123. On January 11, 2021, nine days before
            President-Elect Biden’s inauguration, the House of
            Representatives adopted an impeachment resolution charging
            then-President Trump with “Incitement of Insurrection.” H.R.
            Res. 24, 117th Cong. (2021).               The single article of
            impeachment alleged that he had violated “his constitutional
            oath faithfully to execute the office of President of the United
            States . . . [and] his constitutional duty to take care that the laws
            be faithfully executed . . . by inciting violence against the
            Government of the United States.” Id. at 2. The impeachment
            resolution asserted that “President Trump repeatedly issued
            false statements asserting that the Presidential election results
            were the product of widespread fraud and should not be
            accepted by the American people or certified by State or
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 7 of 57




                                            7
            Federal officials,” id. at 2–3; that his statements on the morning
            of January 6 “encouraged — and foreseeably resulted in —
            lawless action at the Capitol,” id. at 3; and that he attempted to
            “subvert and obstruct the certification of the results of the 2020
            Presidential election” by other means, including by threatening
            a Georgia state official into manipulating the results, id. at 3–
            4.

                 Importantly, by the time the United States Senate
            conducted a trial on the article of impeachment, he had become
            former President Trump. At the close of the trial, on February
            13, 2021, fifty-seven Senators voted to convict him and forty-
            three voted to acquit him. See 167 CONG. REC. S733 (daily ed.
            Feb. 13, 2021). Because two-thirds of the Senate did not vote
            for conviction, he was acquitted on the article of
            impeachment. See id.; U.S. CONST. art. I, § 3, cl. 6.

                 On November 18, 2022, the U.S. Attorney General
            appointed John L. Smith as Special Counsel to investigate
            “efforts to interfere with the lawful transition of power
            following the 2020 presidential election or the certification of
            the Electoral College vote.”2 A Washington, D.C., grand jury
            returned the instant four-count Indictment against former
            President Trump on August 1, 2023, and on August 28, 2023,
            the district court set a trial date of March 4, 2024.

                Former President Trump filed four motions to dismiss the
            Indictment, relying on: (1) presidential immunity; (2)
            constitutional provisions, including the Impeachment
            Judgment Clause and principles stemming from the Double



                2
                   Off. of the Att’y Gen., “Appointment of John L. Smith as
            Special Counsel,” Order No. 5559-2022 (Nov. 18, 2022).
USCA Case #23-3228      Document #2039001                  Filed: 02/06/2024        Page 8 of 57




                                             8
            Jeopardy Clause; (3) statutory grounds; and (4) allegations of
            selective and vindictive prosecution.

                 On December 1, 2023, the district court issued a written
            opinion denying the two motions that are based on presidential
            immunity and the two constitutional provisions. In relevant
            part, the district court rejected Trump’s claim of executive
            immunity from criminal prosecution, holding that “[f]ormer
            Presidents enjoy no special conditions on their federal criminal
            liability.” United States v. Trump, --- F. Supp. 3d ---, 2023 WL
            8359833, at *3 (D.D.C. Dec. 1, 2023). It concluded that “[t]he
            Constitution’s text, structure, and history do not support” the
            existence of such an immunity, id., and that it “would betray
            the public interest” to grant a former President “a categorical
            exemption from criminal liability” for allegedly “attempting to
            usurp the reins of government.” Id. at *12. It also held that
            “neither traditional double jeopardy principles nor the
            Impeachment Judgment Clause provide that a prosecution
            following impeachment acquittal violates double jeopardy.”
            Id. at *18.3

                 Former President Trump filed an interlocutory appeal of
            the district court’s presidential immunity and double-jeopardy
            holdings.      On December 13, 2023, we granted the


                3
                   Former President Trump does not challenge the district court’s
            other holdings at this stage: (1) that “the First Amendment does not
            protect speech that is used as an instrument of a crime, and
            consequently the indictment — which charges [Trump] with, among
            other things, making statements in furtherance of a crime — does not
            violate [Trump]’s First Amendment rights,” Trump, --- F. Supp. 3d
            ---, 2023 WL 8359833, at *15, and (2) that the Indictment does not
            violate Due Process because Trump “had fair notice that his conduct
            might be unlawful,” id. at *22.
USCA Case #23-3228      Document #2039001                 Filed: 02/06/2024        Page 9 of 57




                                             9
            government’s motion to expedite the appeal, and oral argument
            was held on January 9, 2024.

                                  II. JURISDICTION

                 Although both parties agree that the Court has jurisdiction
            over former President Trump’s appeal, amicus curiae
            American Oversight raises a threshold question about our
            collateral-order jurisdiction. In every case, “we must assure
            ourselves of our jurisdiction.” In re Brewer, 863 F.3d 861, 868
            (D.C. Cir. 2017). Under 28 U.S.C. § 1291, which grants us
            jurisdiction over “final decisions of the district courts,” id., “we
            ordinarily do not have jurisdiction to hear a defendant’s appeal
            in a criminal case prior to conviction and sentencing,” United
            States v. Andrews, 146 F.3d 933, 936 (D.C. Cir. 1998). The
            collateral-order doctrine, however, treats as final and thus
            allows us to exercise appellate jurisdiction over “a small class
            of [interlocutory] decisions that conclusively determine the
            disputed question, resolve an important issue completely
            separate from the merits of the action, and are effectively
            unreviewable on appeal from a final judgment.” Citizens for
            Resp. & Ethics in Wash. v. Dep’t of Homeland Sec., 532 F.3d
            860, 864 (D.C. Cir. 2008) (cleaned up). The district court’s
            denial of former President Trump’s immunity defense
            unquestionably satisfies the first two requirements and thus we
            focus our analysis on the third: whether the denial of immunity
            is effectively unreviewable on appeal from a final judgment.

                District court orders rejecting claims of civil immunity are
            quintessential examples of collateral orders. See, e.g., Nixon v.
            Fitzgerald, 457 U.S. 731, 741–43 (1982) (executive immunity
            from civil liability); Blassingame v. Trump, 87 F.4th 1, 12
            (D.C. Cir. 2023) (same). But in Midland Asphalt Corp. v.
            United States, the Supreme Court counseled that the collateral-
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024        Page 10 of 57




                                           10
             order doctrine is interpreted “with the utmost strictness in
             criminal cases.” 489 U.S. 794, 799 (1989) (cleaned up).

                  The Midland Asphalt Court emphasized that criminal
             collateral orders that are based on “[a] right not to be tried”
             must “rest[] upon an explicit statutory or constitutional
             guarantee that trial will not occur” — singling out the Double
             Jeopardy Clause and the Speech or Debate Clause. 489 U.S. at
             801 (emphasis added). Former President Trump does not raise
             a straightforward claim under the Double Jeopardy Clause but
             instead relies on the Impeachment Judgment Clause and what
             he calls “double jeopardy principles.” Appellant’s Br. 54 n.7.
             The double-jeopardy “principle[]” he relies on is a negative
             implication drawn from the Impeachment Judgment Clause.
             See id. at 8, 12, 46–47. Thus, he does not invoke our
             jurisdiction based on the explicit grant of immunity found in
             the Double Jeopardy Clause.

                  Nevertheless, we can exercise jurisdiction for two reasons.
             First, Midland Asphalt is distinguishable and does not require
             immunity to derive from an explicit textual source. Second,
             the theories of immunity former President Trump asserts are
             sufficient to satisfy Midland Asphalt under Circuit precedent.

                     A. DISTINGUISHING MIDLAND ASPHALT

                   Midland Asphalt dealt with the third prong of the
             collateral-order test in the context of criminal defendants who
             argued they were entitled to immediately appeal the denial of
             their motion to dismiss an indictment because the government
             had violated Federal Rule of Criminal Procedure 6(e)(2)’s
             requirement of grand jury secrecy. 489 U.S. at 796. The
             Supreme Court held that an order is “effectively unreviewable”
             on appeal “only where the order at issue involves ‘an asserted
             right the legal and practical value of which would be destroyed
             if it were not vindicated before trial.’” Id. at 799 (quoting
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 11 of 57




                                             11
             United States v. MacDonald, 435 U.S. 850, 860 (1978)). The
             Court rejected the defendants’ argument that the denial of the
             motion satisfied the third prong. It explained that “[i]t is true
             that deprivation of the right not to be tried satisfies the Coopers
             & Lybrand requirement of being ‘effectively unreviewable on
             appeal from a final judgment,’” but held that the defendants
             had not asserted a right against trial in “the sense relevant for
             purposes of the exception to the final judgment rule.” Id. at
             801–02 (quoting Coopers & Lybrand v. Livesay, 437 U.S. 463,
             468 (1978) (“To come within the [collateral-order doctrine],
             the order must conclusively determine the disputed question,
             resolve an important issue completely separate from the merits
             of the action, and be effectively unreviewable on appeal from
             a final judgment.”)).

                  The reason the defendants’ argument failed, the Midland
             Asphalt Court held, was that it overlooked the “crucial
             distinction between a right not to be tried and a right whose
             remedy requires the dismissal of charges.” 489 U.S. at 801
             (quotation omitted). “A right not to be tried in the sense
             relevant to the [collateral-order doctrine] rests upon an explicit
             statutory or constitutional guarantee that trial will not occur —
             as in the Double Jeopardy Clause . . . or the Speech or Debate
             Clause.” Id. By contrast, Rule 6(e)(2) did not “give[] rise to a
             right not to stand trial” but instead merely created a right to
             secret grand jury proceedings, the violation of which could be
             remedied through the indictment’s dismissal. Id. at 802.

                  American Oversight’s argument hinges on the Court’s use
             of the adjective “explicit” — a word that appears only once in
             the Midland Asphalt opinion. The Court has repeatedly (and
             recently) cautioned against “read[ing] too much into too little,”
             reminding us that “‘[t]he language of an opinion is not always
             to be parsed as though we were dealing with language of a
             statute.’” Nat’l Pork Producers Council v. Ross, 598 U.S. 356,
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 12 of 57




                                            12
             373 (2023) (quoting Reiter v. Sonotone Corp., 442 U.S. 330,
             341 (1979)). Instead, opinions “must be read with a careful eye
             to context” and the “particular work” that quoted language
             performs within an opinion. Id. at 374; see also Goldman
             Sachs Grp., Inc. v. Ark. Tchr. Ret. Sys., 141 S. Ct. 1951, 1968
             (2021) (Gorsuch, J., concurring in part) (“[T]his Court [has]
             often said it is a mistake to parse terms in a judicial opinion
             with the kind of punctilious exactitude due statutory
             language.”).

                  The Supreme Court itself has hinted, although not squarely
             held, that Midland Asphalt’s language should not be read
             literally. In Digital Equipment, the Court quoted the relevant
             sentence from Midland Asphalt and characterized it as a
             “suggest[ion].” Digital Equip. Corp. v. Desktop Direct, Inc.,
             511 U.S. 863, 874 (1994) (“Only such an ‘explicit statutory or
             constitutional guarantee that trial will not occur,’ we suggested,
             could be grounds for an immediate appeal of right under
             § 1291.” (internal citation to Midland Asphalt, 489 U.S. at 801,
             omitted)). The Court then weighed the argument that Midland
             Asphalt’s comment is dictum because the Court allows
             interlocutory review of other implied immunities, including
             qualified immunity. Id. at 875 (citing Mitchell v. Forsyth, 472
             U.S. 511 (1985)). The Court did not concede the point,
             however, as it pointed out that Midland Asphalt is a criminal
             case and Mitchell is a civil case, but it allowed that “even if
             Mitchell could not be squared fully with the literal words of the
             Midland Asphalt sentence . . . that would be only because the
             qualified immunity right is inexplicit, not because it lacks a
             good pedigree in public law.” Id. It then noted “the insight
             that explicitness may not be needed for jurisdiction consistent
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 13 of 57




                                             13
             with § 1291.”4 Id. The Court ultimately chose to reject the
             petitioner’s argument on a different basis, see id. at 877, so it
             did not squarely resolve how to interpret Midland Asphalt. But
             a fair reading contemplates that there are exceptions to Midland
             Asphalt’s broad statement. See id. at 875. Other courts have
             held to that effect. See Al Shimari v. CACI Int’l, Inc., 679 F.3d
             205, 217 n.9 (4th Cir. 2012) (en banc) (reading Digital
             Equipment to hold that qualified immunity’s “good pedigree in
             public law . . . more than makes up for its implicitness”
             (cleaned up)); McClendon v. City of Albuquerque, 630 F.3d
             1288, 1296 n.2 (10th Cir. 2011) (interpreting Digital
             Equipment’s “good pedigree in public law” comment as a
             “binding” reconciliation of Midland Asphalt with the
             immediate appealability of some implicit immunities).

                  There is good reason not to read Midland Asphalt literally
             here. Read in context, the Court’s use of “explicit” was simply
             to contrast a right against trial and a right that entitles the
             defendant to the dismissal of charges. The latter can be
             vindicated through appeal after a final judgment, but the former
             cannot. The Court was not addressing an issue as to which it
             was necessary to distinguish between explicit and implied
             rights against trial; instead, it addressed the defendants’
             assertion that the violation of the Federal Rules of Criminal
             Procedure entitled them to immediate review. See Midland
             Asphalt, 489 U.S. at 802 (Rule 6(e) contained “no hint” of a
             right against trial). Thus, “explicit” did not perform any
             “particular work” within the opinion, see Nat’l Pork
             Producers, 598 U.S. at 374, meaning it would be a mistake to
             make a doctrinal mountain out of a verbal molehill. See Al

                 4
                   Elsewhere, Digital Equipment refers to rights “originating in
             the Constitution or statutes.” 511 U.S. at 879. Its broader
             formulation comfortably encompasses implicit as well as explicit
             immunities.
USCA Case #23-3228      Document #2039001                    Filed: 02/06/2024          Page 14 of 57




                                               14
             Shimari, 679 F.3d at 246 (Wilkinson, J., dissenting) (calling
             Midland Asphalt’s sentence “dictum” and a “lonely line”).

                  Nor was the question presented in Midland Asphalt
             anything like the one before us. Procedural rules are worlds
             different from a former President’s asserted immunity from
             federal criminal liability. The Supreme Court has repeatedly
             emphasized that the President is sui generis. In the civil
             context, the Court has held that the denial of the President’s
             assertion of absolute immunity is immediately appealable “[i]n
             light of the special solicitude due to claims alleging a
             threatened breach of essential Presidential prerogatives under
             the separation of powers.” Fitzgerald, 457 U.S. at 743. And
             in United States v. Nixon, the Court waived the typical
             requirement that the President risk contempt before appealing
             because it would be “unseemly” to require the President to do
             so “merely to trigger the procedural mechanism for review of
             the ruling.” 418 U.S. 683, 691–92 (1974). It would be equally
             “unseemly” for us to require that former President Trump first
             be tried in order to secure review of his immunity claim after
             final judgment. When the Court instructs us to read its opinions
             “with a careful eye to context,” see Nat’l Pork Producers, 598
             U.S. at 374, it authorizes us to consider the “special solicitude”
             due a former President, Fitzgerald, 457 U.S. at 743.

                  One final reason not to overread a single adjective in
             Midland Asphalt is that there is no apparent reason to treat an
             implicit constitutional immunity from trial differently from an
             explicit one for interlocutory review.5 Midland Asphalt

                  5
                     By contrast, the Supreme Court has explained why a right
             against trial must ordinarily be “statutory or constitutional” in nature
             to fall within the collateral-order doctrine. Midland Asphalt, 489
             U.S. at 801. Whether a right can be effectively reviewed after final
             judgment “simply cannot be answered without a judgment about the
USCA Case #23-3228      Document #2039001                  Filed: 02/06/2024          Page 15 of 57




                                              15
             certainly did not provide one. The ultimate source of our
             appellate jurisdiction is 28 U.S.C. § 1291, which extends to the
             “final decision[]” of the district court. There is no basis in the
             statutory text to treat the denial of an explicit immunity as final
             but the denial of an implicit immunity as non-final. In both
             cases, the “deprivation of the right not to be tried” would be
             “effectively unreviewable on appeal from a final judgment.”
             Midland Asphalt, 489 U.S. at 800–01 (quotation omitted).
             Whether explicit or implicit in the Constitution, the right not to
             stand trial must be “vindicated before trial” or not at all. Id. at
             799 (quotation omitted).

                                B. CIRCUIT PRECEDENT

                 Our Circuit precedent has taken a broad view of Midland
             Asphalt, consistently holding that the denial of a right not to
             stand trial is immediately appealable if the right is similar or
             analogous to one provided in the Constitution. Both of former
             President Trump’s asserted sources of immunity — separation
             of powers and double jeopardy principles — fit within this
             window of appealability. See Appellant’s Br. 2–3 (listing
             “Statement of the Issues”).

                 Our caselaw includes United States v. Rose, a civil case in
             which we held that Congressman Rose’s standalone separation
             of powers immunity was reviewable under § 1291 because it
             served the same function as a claim of Speech or Debate Clause
             immunity. 28 F.3d 181 (D.C. Cir. 1994). Congressman Rose


             value of the interests that would be lost through rigorous application
             of a final judgment requirement.” Digital Equip., 511 U.S. at 878–
             79. But there is no need for courts to make that judgment call
             “[w]hen a policy is embodied in a constitutional or statutory
             provision,” thus leaving “little room for the judiciary to gainsay its
             importance.” Id. at 879 (cleaned up).
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 16 of 57




                                            16
             argued that he had immunity from the DOJ’s suit against him
             because “the action was barred by the Speech or Debate
             Clause” and, separately, because “the separation of powers
             doctrine barred the DOJ from suing him” when a congressional
             committee had already investigated him. Id. at 185. We held
             that the latter claim falls within the collateral-order doctrine,
             “recogniz[ing] claims of immunity based on the separation of
             powers doctrine as an additional exception to the general rule
             against interlocutory appeals.” Id. Granted, we acknowledged
             that the separation of powers doctrine “does not provide as
             precise a protection as the Speech or Debate Clause,” but we
             focused on the “equivalent reasons for vindicating in advance
             of trial whatever protection it affords.” Id. at 186 (quotation
             omitted).

                  We confirmed Rose’s applicability in the criminal context
             in United States v. Durenberger, 48 F.3d 1239 (D.C. Cir.
             1995). There, former Senator Durenberger sought to dismiss
             an indictment, arguing based on separation of powers that the
             district court was powerless to decide whether he had violated
             the Senate’s rules, a prerequisite of its assessment of the
             criminal charges against him. See id. at 1241; U.S. CONST. art.
             I, § 5, cl. 2 (“Each House may determine the Rules of its
             Proceedings . . . .”). He thus “claim[ed] that, as a former
             member of the Senate, he cannot be held to answer criminal
             charges when his liability depends on judicial usurpation of the
             Senate’s exclusive right to formulate its internal rules.”
             Durenberger, 48 F.3d at 1242. We held that this “colorable”
             argument was sufficient to confer appellate jurisdiction under
             Rose. Id. Notably, the constitutional text invoked in
             Durenberger can hardly be said to create an “explicit” right not
             to stand trial. As we explained in a subsequent case, both Rose
             and Durenberger rest on the rationale that the “separation-of-
             powers doctrine conferred . . . an analogous and comparable
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 17 of 57




                                            17
             privilege” to the Speech or Debate Clause. United States v.
             Cisneros, 169 F.3d 763, 770 (D.C. Cir. 1999).

                  Following the Supreme Court’s lead, see Abney v. United
             States, 431 U.S. 651, 662 (1977) (denial of motion to dismiss
             indictment on double jeopardy grounds is immediately
             appealable), we have also allowed interlocutory review by
             analogizing to the explicit constitutional immunity in the
             Double Jeopardy Clause. In United States v. Trabelsi, we
             exercised interlocutory appellate jurisdiction of the defendant’s
             invocation of a treaty’s non bis in idem provision, which
             “mirror[ed] the Constitution’s prohibition of double jeopardy.”
             28 F.4th 1291, 1298 (D.C. Cir. 2022), cert. denied, 143 S. Ct.
             345 (2022).       The treaty provision’s similarity to the
             constitutional guarantee, we held, was enough to bring the
             appeal within the scope of Abney.

                  Former President Trump’s two arguments can be
             analogized to explicit constitutional immunities, which is all
             that Durenberger and Trabelsi require. His separation of
             powers argument does not explicitly draw on the Speech or
             Debate Clause but neither did the argument in Durenberger.
             The immunity for official acts former President Trump asserts
             is “closely akin to a claim of Speech or Debate Clause
             immunity,” Cisneros, 169 F.3d at 770, making it immediately
             appealable because “there are equivalent reasons for
             vindicating [it] in advance of trial,” Rose, 28 F.3d at 186
             (quotation omitted). Likewise, the defense argues that the
             Impeachment Judgment Clause “incorporates a Double
             Jeopardy principle.” Appellant’s Br. 46. We found a similar
             line of reasoning convincing in Trabelsi. If a treaty provision
             that “mirrors” the Double Jeopardy Clause falls within the
             collateral-order doctrine, so does a constitutional clause that
             (purportedly) attaches jeopardy to a Senate’s impeachment
             acquittal. Both of former President Trump’s arguments are at
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 18 of 57




                                            18
             least analogous enough to the Speech or Debate Clause or the
             Double Jeopardy Clause to fit within our precedent.

                  Nor will exercising jurisdiction here put us in conflict with
             other circuits, as American Oversight suggests. See Am.
             Oversight Br. 9. The chief cases on which American Oversight
             relies are readily distinguishable because in each the asserted
             right against trial was not grounded solely in either the
             Constitution or a statute. See United States v. Joseph, 26 F.4th
             528, 534 (1st Cir. 2022) (a state judge’s immunity depended
             “solely on the common law”); United States v. Macchia, 41
             F.3d 35, 38 (2d Cir. 1994) (addressing “an alleged agreement
             with the United States Attorney” to provide the defendant with
             immunity); United States v. Wampler, 624 F.3d 1330, 1337 &
             n.3 (10th Cir. 2010) (involving “an executory plea agreement
             between a company and the government” that excluded the
             defendants).

                 Accordingly, we conclude that we have jurisdiction to
             reach the merits of former President Trump’s appeal.

                            III. EXECUTIVE IMMUNITY

                  For all immunity doctrines, “the burden is on the official
             claiming immunity to demonstrate his entitlement.” Dennis v.
             Sparks, 449 U.S. 24, 29 (1980). Former President Trump
             claims absolute immunity from criminal prosecution for all
             “official acts” undertaken as President, a category, he contends,
             that includes all of the conduct alleged in the Indictment.

                 The question of whether a former President enjoys
             absolute immunity from federal criminal liability is one of first
             impression. See Blassingame, 87 F.4th at 5 (noting the
             unresolved question of “whether or when a President might be
             immune from criminal prosecution”). The Supreme Court has
             consistently held that even a sitting President is not immune
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024        Page 19 of 57




                                           19
             from responding to criminal subpoenas issued by state and
             federal prosecutors. See Trump v. Vance, 140 S. Ct. 2412, 2431
             (2020); Nixon, 418 U.S. at 706; United States v. Burr, 25 F.
             Cas. 30, 33–34 (C.C. Va. 1807) (Marshall, C.J.). In the civil
             context, the Supreme Court has explained that a former
             President is absolutely immune from civil liability for his
             official acts, defined to include any conduct falling within the
             “‘outer perimeter’ of his official responsibility.” Fitzgerald,
             457 U.S. at 756. Both sitting and former Presidents remain
             civilly liable for private conduct. Clinton v. Jones, 520 U.S.
             681, 686, 694–95 (1997); Blassingame, 87 F.4th at 12–14.
             When considering the issue of Presidential immunity, the
             Supreme Court has been careful to note that its holdings on
             civil liability do not carry over to criminal prosecutions. See
             Fitzgerald, 457 U.S. at 754 n.37 (explaining the “lesser public
             interest in actions for civil damages than, for example, in
             criminal prosecutions”); cf. Clinton, 520 U.S. at 704 n.39
             (noting special considerations at issue in criminal cases).

                  Former President Trump’s claimed immunity would have
             us extend the framework for Presidential civil immunity to
             criminal cases and decide for the first time that a former
             President is categorically immune from federal criminal
             prosecution for any act conceivably within the outer perimeter
             of his executive responsibility. He advances three grounds for
             establishing this expansive immunity for former Presidents:
             (1) Article III courts lack the power to review the President’s
             official acts under the separation of powers doctrine; (2)
             functional policy considerations rooted in the separation of
             powers require immunity to avoid intruding on Executive
             Branch functions; and (3) the Impeachment Judgment Clause
             does not permit the criminal prosecution of a former President
             in the absence of the Congress impeaching and convicting him.
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 20 of 57




                                            20
                  Our analysis is “guided by the Constitution, federal
             statutes, and history,” as well as “concerns of public policy.”
             Fitzgerald, 457 U.S. at 747. Relying on these sources, we
             reject all three potential bases for immunity both as a
             categorical defense to federal criminal prosecutions of former
             Presidents and as applied to this case in particular.

                     A. SEPARATION OF POWERS DOCTRINE

                  The President of the United States “occupies a unique
             position in the constitutional scheme.” Fitzgerald, 457 U.S. at
             749; see Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2034
             (2020) (“The President is the only person who alone composes
             a branch of government.”). Under the separation of powers
             established in the Constitution, the President is vested with
             “executive Power,” U.S. CONST. art. II, § 1, cl.1, which entails
             the duty to “take Care that the Laws be faithfully executed,” id.
             § 3, and “supervisory and policy responsibilities of utmost
             discretion and sensitivity,” Fitzgerald, 457 U.S. at 750. The
             President’s constitutional role exists alongside the Congress’s
             duty to make the laws, U.S. CONST. art. I, § 1, and the
             Judiciary’s duty to “say what the law is,” Marbury v. Madison,
             5 U.S. (1 Cranch) 137, 177 (1803).

                  “It is settled law that the separation-of-powers doctrine
             does not bar every exercise of jurisdiction over the President of
             the United States.” Fitzgerald, 457 U.S. at 753–54; see also
             Nixon, 418 U.S. at 706 (separation of powers doctrine cannot
             “sustain an absolute, unqualified Presidential privilege of
             immunity from judicial process under all circumstances”).
             Nevertheless, former President Trump argues that the
             constitutional structure of separated powers means that
             “neither a federal nor a state prosecutor, nor a state or federal
             court, may sit in judgment over a President’s official acts,
             which are vested in the Presidency alone.” Appellant’s Br. 10.
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 21 of 57




                                            21
             He relies on Marbury’s oft-quoted statement that a President’s
             official acts “can never be examinable by the courts.” Id.
             (quoting Marbury, 5 U.S. (1 Cranch) at 166); see also Reply
             Br. 6.

                  Former President Trump misreads Marbury and its
             progeny. Properly understood, the separation of powers
             doctrine may immunize lawful discretionary acts but does not
             bar the federal criminal prosecution of a former President for
             every official act.

                  Marbury distinguished between two kinds of official acts:
             discretionary and ministerial. As to the first category, Chief
             Justice Marshall recognized that “the President is invested with
             certain important political powers, in the exercise of which he
             is to use his own discretion, and is accountable only to his
             country in his political character, and to his own conscience.”
             Marbury, 5 U.S. (1 Cranch) at 165–66. When the President or
             his appointed officers exercise discretionary authority, “[t]he
             subjects are political” and “the decision of the executive is
             conclusive.” Id. at 166. Their discretionary acts, therefore,
             “can never be examinable by the courts.” Id. “But,” Chief
             Justice Marshall continued, “when the legislature proceeds to
             impose on that officer other duties; when he is directed
             peremptorily to perform certain acts; when the rights of
             individuals are dependent on the performance of those acts; he
             is so far the officer of the law; is amenable to the laws for his
             conduct; and cannot at his discretion sport away the vested
             rights of others.” Id. (emphases added). Under these
             circumstances, an executive officer acts as a “ministerial
             officer . . . compellable to do his duty, and if he refuses, is
             liable to indictment.” Id. at 150; see id. at 149–50 (“It is not
             consistent with the policy of our political institutions, or the
             manners of the citizens of the United States, that any
             ministerial officer having public duties to perform, should be
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024       Page 22 of 57




                                           22
             above the compulsion of law in the exercise of those duties.”).
             Based on these principles, Chief Justice Marshall concluded
             that, although discretionary acts are “only politically
             examinable,” the judiciary has the power to hear cases “where
             a specific duty is assigned by law.” Id. at 166. Marbury thus
             makes clear that Article III courts may review certain kinds of
             official acts — including those that are legal in nature.

                  The cases following Marbury confirm that we may review
             the President’s actions when he is bound by law, including by
             federal criminal statutes. In Little v. Barreme, the Supreme
             Court concluded that the President’s order to a subordinate
             officer to seize American ships traveling to or from French
             ports violated the Nonintercourse Act precisely because the
             Congress had acted to constrain the Executive’s discretion. 6
             U.S. (2 Cranch) 170, 177–79 (1804). Chief Justice Marshall
             observed that the President may have had the discretionary
             authority to order the seizure absent legislation but had no
             discretion to violate the Act. Id. at 177–78. Similarly, in
             Kendall v. United States ex rel. Stokes, the Supreme Court
             reviewed the official acts of the postmaster general, the
             President’s subordinate officer who derived his authority from
             the Executive Branch, because the civil case involved the
             violation of a statutory requirement. 37 U.S. 524, 612–13
             (1838). To find a statutory violation unreviewable, the Court
             held, “would be clothing the President with a power entirely to
             control the legislation of congress, and paralyze the
             administration of justice.” Id. at 613.

                 Then, in Mississippi v. Johnson, the Supreme Court
             considered whether the State of Mississippi could sue President
             Andrew Johnson to enjoin him from enforcing the
             Reconstruction Acts, which the State alleged were
             unconstitutional. 71 U.S. 475, 497–98 (1866). The Court
             concluded that it lacked jurisdiction to issue an injunction,
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 23 of 57




                                            23
             relying on Marbury, Kendall and the distinction between “mere
             ministerial dut[ies]” in which “nothing was left to discretion”
             and “purely executive and political” duties involving the
             President’s discretion. Id. at 498–99; see also Martin v. Mott,
             25 U.S. 19, 31–32 (1827) (no judicial power to review
             President exercising his “discretionary power” conferred by
             statute). In holding that it could not enjoin the President from
             using his discretion, the Court nevertheless affirmed the role of
             the Judiciary in checking the other two branches of
             government: “The Congress is the legislative department of
             the government; the President is the executive department.
             Neither can be restrained in its action by the judicial
             department; though the acts of both, when performed, are, in
             proper cases, subject to its cognizance.” Mississippi, 71 U.S.
             at 500.

                  The Supreme Court exercised its cognizance over
             Presidential action to dramatic effect in 1952, when it held that
             President Harry Truman’s executive order seizing control of
             most of the country’s steel mills exceeded his constitutional
             and statutory authority and was therefore invalid. Youngstown
             Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587–89 (1952). The
             Congress had not legislated to authorize President Truman’s
             seizure and in fact had “refused to adopt th[e seizure] method
             of settling labor disputes.” Id. at 586. President Truman could
             lawfully act only to execute the Congress’s laws or to carry out
             his constitutional duties as the Executive; and he lacked
             authority from either source to seize the steel mills. Id. at 587–
             89. As Justice Jackson explained, the Court’s holding
             invalidating the executive order was proper because “[w]hen
             the President takes measures incompatible with the expressed
             or implied will of Congress, his power is at its lowest ebb.” Id.
             at 637 (Jackson, J., concurring). Based on Youngstown and
             Marbury, the Supreme Court in Clinton easily concluded that
             “when the President takes official action, the Court has the
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024       Page 24 of 57




                                           24
             authority to determine whether he has acted within the law.”
             Clinton, 520 U.S. at 703.

                  Objection may be made that Marbury and its progeny
             exercised jurisdiction only over subordinate officers, not the
             President himself. The writ in Marbury was brought against
             the Secretary of State; in Little against a commander of a ship
             of war; in Kendall against the postmaster general; in
             Youngstown against the Secretary of Commerce. But as the
             Supreme Court has unequivocally explained:

                     No man in this country is so high that he is
                     above the law. No officer of the law may set
                     that law at defiance with impunity. All the
                     officers of the government, from the highest to
                     the lowest, are creatures of the law and are
                     bound to obey it. It is the only supreme power
                     in our system of government, and every man
                     who by accepting office participates in its
                     functions is only the more strongly bound to
                     submit to that supremacy, and to observe the
                     limitations which it imposes upon the exercise
                     of the authority which it gives.

             United States v. Lee, 106 U.S. 196, 220 (1882). “That principle
             applies, of course, to a President.” Vance, 140 S. Ct. at 2432
             (Kavanaugh, J., concurring).

                  Further, the Supreme Court has repeatedly affirmed the
             judiciary’s power to “direct appropriate process to the
             President himself.” Clinton, 520 U.S. at 705. The President
             does not enjoy absolute immunity from criminal subpoenas
             issued by state and federal prosecutors and may be compelled
             by the courts to respond. Burr, 25 F. Cas. at 33–34; Nixon, 418
             U.S. at 713–14; Vance, 140 S. Ct. at 2431. We have “200 years
             of precedent establishing that Presidents, and their official
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 25 of 57




                                             25
             communications, are subject to judicial process, even when the
             President is under investigation.” Vance, 140 S. Ct. at 2427
             (citations omitted); see also Clinton, 520 U.S. at 703–05
             (recounting history of sitting Presidents complying with court
             orders to provide testimony and other evidence).

                  The separation of powers doctrine, as expounded in
             Marbury and its progeny, necessarily permits the Judiciary to
             oversee the federal criminal prosecution of a former President
             for his official acts because the fact of the prosecution means
             that the former President has allegedly acted in defiance of the
             Congress’s laws. Although certain discretionary actions may
             be insulated from judicial review, the structure of the
             Constitution mandates that the President is “amenable to the
             laws for his conduct” and “cannot at his discretion” violate
             them. Marbury, 5 U.S. (1 Cranch) at 166. Here, former
             President Trump’s actions allegedly violated generally
             applicable criminal laws, meaning those acts were not properly
             within the scope of his lawful discretion; accordingly, Marbury
             and its progeny provide him no structural immunity from the
             charges in the Indictment.

                  Our conclusion that the separation of powers doctrine does
             not immunize former Presidents from federal criminal liability
             is reinforced by the analogous immunity doctrines for
             legislators and judges. Legislators and judges are absolutely
             immune from civil suits for any official conduct, and legislators
             have an explicit constitutional immunity from criminal
             prosecution arising from the Speech or Debate Clause.
             Nevertheless, legislators and judges can be criminally
             prosecuted under generally applicable laws for their official
             acts consistent with the separation of powers doctrine.

                 Legislators have explicit constitutional immunity from
             criminal or civil liability “for what they do or say in legislative
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 26 of 57




                                            26
             proceedings” under the Speech or Debate Clause. Tenney v.
             Brandhove, 341 U.S. 367, 372 (1951); see U.S. CONST. art. I,
             § 6, cl. 1. But outside of constitutionally protected legislative
             conduct, members of the Congress perform a wide range of
             “acts in their official capacity” that are not “legislative in
             nature” and so can subject them to criminal liability. Gravel v.
             United States, 408 U.S. 606, 625 (1972); see id. at 626 (Speech
             or Debate Clause “does not privilege either Senator or aide to
             violate an otherwise valid criminal law in preparing for or
             implementing legislative acts”). In United States v. Johnson, a
             Congressman was criminally charged with conspiring to
             pressure the Department of Justice to dismiss pending
             indictments of a loan company and its officers on mail fraud
             charges. 383 U.S. 169, 171 (1966). The Supreme Court held
             that the prosecution could not include evidence related to a
             speech made by Johnson on the House floor because of his
             constitutional immunity but, the Court made clear, Johnson
             could be retried on the same count “wholly purged of elements
             offensive to the Speech or Debate Clause.” Id. at 185.
             Although his unprotected conduct constituted an official act
             under Fitzgerald (communicating with the Executive Branch),
             see id. at 172, it was constrained by and subject to “criminal
             statute[s] of general application.” Id. at 185.

                  Judges are similarly liable to the criminal laws for their
             official acts. A notable example is Ex parte Commonwealth of
             Virginia, in which the Supreme Court applied Marbury’s
             discretionary/ministerial distinction to affirm the criminal
             indictment of a judge based on an official act. 100 U.S. 339
             (1879). A county judge was indicted in federal court for
             violating a federal statute that prohibited discriminating on the
             basis of race in jury selection. Id. at 340, 344. The Supreme
             Court began by observing the principle that officers are bound
             to follow the law: “We do not perceive how holding an office
             under a State, and claiming to act for the State, can relieve the
USCA Case #23-3228       Document #2039001                  Filed: 02/06/2024          Page 27 of 57




                                               27
             holder from obligation to obey the Constitution of the United
             States, or take away the power of Congress to punish his
             disobedience.” Id. at 348. The Court then addressed the
             judge’s argument that the Court lacked the authority to punish
             a state judge for “his official acts.” Id. Its response was
             twofold. First, the Court described juror selection as “merely
             a ministerial act, as much so as the act of a sheriff holding an
             execution, in determining upon what piece of property he will
             make a levy, or the act of a roadmaster in selecting laborers to
             work upon the roads.” Id. The Court then explained that even
             if juror selection is considered a “judicial act,” the judge had a
             legal duty to obey the criminal laws:

                      But if the selection of jurors could be considered
                      in any case a judicial act, can the act charged
                      against the petitioner be considered such when
                      he acted outside of his authority and in direct
                      violation of the spirit of the State statute? That
                      statute gave him no authority, when selecting
                      jurors, from whom a panel might be drawn for
                      a circuit court, to exclude all colored men
                      merely because they were colored. Such an
                      exclusion was not left within the limits of his
                      discretion. It is idle, therefore, to say that the
                      act of Congress is unconstitutional because it
                      inflicts penalties upon State judges for their
                      judicial action. It does no such thing.

             Id. at 348–49 (emphasis added).6



                  6
                     The Court’s reference to “the State statute” is to the Virginia
             law charging the county judge with the duty to select jurors in the
             circuit and county courts. Ex parte Virginia, 100 U.S. at 340.
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 28 of 57




                                            28
                  More recent case law on the judicial immunity doctrine
             affirms that judges are not immune from criminal liability for
             their official acts. O’Shea v. Littleton confirmed the holding of
             Ex parte Virginia in dismissing a civil rights action for
             equitable relief brought against a county magistrate and
             associate judge of a county circuit. 414 U.S. 488, 490–91, 503
             (1974). The Supreme Court concluded that the requested
             injunction was not the only available remedy because both
             judges remained answerable to the federal criminal laws:

                     [W]e have never held that the performance of
                     the duties of judicial, legislative, or executive
                     officers, requires or contemplates the
                     immunization of otherwise criminal deprivation
                     of constitutional rights. On the contrary, the
                     judicially fashioned doctrine of official
                     immunity does not reach ‘so far as to immunize
                     criminal conduct proscribed by an Act of
                     Congress . . . .’

             Id. at 503 (citation to Ex parte Virginia, 100 U.S. 339, omitted;
             quoting Gravel, 408 U.S. at 627). Similarly, in Dennis v.
             Sparks, the Court affirmed judicial immunity from civil money
             damages in the context of bribery allegations but explained that
             judges “are subject to criminal prosecutions as are other
             citizens.” 449 U.S. at 31. Crucially, the judge in Dennis
             retained civil immunity because “the challenged conduct” —
             allegedly issuing an injunction corruptly after accepting bribes
             as part of a conspiracy — was “an official judicial act within
             his statutory jurisdiction, broadly construed.” Id. at 29. The
             scope of civil judicial immunity thus aligns with civil
             Presidential immunity under Fitzgerald, but a judge has no
             criminal immunity for the same “official act.” See also Imbler
             v. Pachtman, 424 U.S. 409, 429 (1976) (“Even judges, cloaked
             with absolute civil immunity for centuries, could be punished
USCA Case #23-3228      Document #2039001                  Filed: 02/06/2024         Page 29 of 57




                                              29
             criminally for willful deprivations of constitutional
             rights . . . .”); United States v. Gillock, 445 U.S. 360, 372
             (1980) (“[T]he cases in this Court which have recognized an
             immunity from civil suit for state officials have presumed the
             existence of federal criminal liability as a restraining factor on
             the conduct of state officials.”).7

                  When considering the criminal prosecutions of judges,
             other circuits have repeatedly rejected judicial criminal
             immunity for official acts, largely in the context of bribery
             prosecutions. See United States v. Claiborne, 727 F.2d 842,
             845 (9th Cir.) (per curiam), cert. denied, 469 U.S. 829 (1984);
             United States v. Hastings, 681 F.2d 706, 709–11 (11th Cir.
             1982), cert. denied, 459 U.S. 1203 (1983); United States v.
             Isaacs, 493 F.2d 1124, 1143–44 (7th Cir.) (per curiam), cert.
             denied, 417 U.S. 976 (1974), overruled on other grounds by
             United States v. Gimbel, 830 F.2d 621 (7th Cir. 1987). Former
             President Trump argues that bribery allegations were not
             considered “judicial acts” at common law, Appellant’s Br. 21,
             but his sources do not support his conclusion. He is correct that

                 7
                      In his brief, former President Trump contends otherwise,
             primarily relying on two words in a single line of dictum from
             Spalding v. Vilas to urge that judges are immune from criminal
             prosecution for their official acts. Appellant’s Br. 19. Spalding was
             a civil case in which the Supreme Court quoted an opinion of the
             Supreme Court of New York: “The doctrine which holds a judge
             exempt from a civil suit or indictment for any act done or omitted to
             be done by him, sitting as judge, has a deep root in the common law.”
             Spalding v. Vilas, 161 U.S. 483, 494 (1896) (quoting Yates v.
             Lansing, 5 Johns. 282, 291 (N.Y. Sup. Ct. 1810)) (emphasis added).
             The Supreme Court did not analyze the scope of judicial criminal
             immunity itself and the quoted New York language is flatly
             incompatible with the Supreme Court case law addressed supra. We
             do not consider Spalding’s dictum binding on the question of judicial
             criminal immunity.
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 30 of 57




                                            30
             Blackstone and other early common law sources expressly
             contemplated the criminal prosecution of judges on bribery
             charges. See 4 WILLIAM BLACKSTONE, COMMENTARIES *139;
             Perrin v. United States, 444 U.S. 37, 43 (1979). But this shows
             only that judicial immunity did not stretch to shield judges from
             generally applicable criminal laws, not that bribery was ever
             considered a nonofficial act. And as explained supra, the
             Supreme Court emphasized the official nature of the bribery
             allegations in Dennis while reinforcing the judge’s criminal
             liability.

                  We therefore conclude that Article III courts may hear the
             charges alleged in the Indictment under the separation of
             powers doctrine, as explained in Marbury and its progeny and
             applied in the analogous contexts of legislative and judicial
             immunity. The Indictment charges that former President
             Trump violated criminal laws of general applicability. Acting
             against laws enacted by the Congress, he exercised power that
             was at its “lowest ebb.” Youngstown, 343 U.S. at 637 (Jackson,
             J., concurring). Former President Trump lacked any lawful
             discretionary authority to defy federal criminal law and he is
             answerable in court for his conduct.

                   B. FUNCTIONAL POLICY CONSIDERATIONS

                  Even though it is proper under Marbury and its progeny
             for an Article III court to hear criminal charges brought against
             a former President, we “necessarily” must “weigh[] concerns
             of public policy, especially as illuminated by our history and
             the structure of our government,” including our “constitutional
             heritage and structure.” Fitzgerald, 457 U.S. at 747–48; see id.
             at 748 (our historical analysis merges with public policy
             analysis “[b]ecause the Presidency did not exist through most
             of the development of common law”); Clinton, 520 U.S. at 694
             (courts apply “a functional approach” in determining the scope
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 31 of 57




                                            31
             of official immunity). “This inquiry involves policies and
             principles that may be considered implicit in the nature of the
             President’s office in a system structured to achieve effective
             government under a constitutionally mandated separation of
             powers.” Fitzgerald, 457 U.S. at 748. Our analysis entails
             “balanc[ing] the constitutional weight of the interest to be
             served against the dangers of intrusion on the authority and
             functions of the Executive Branch.” Id. at 754.

                  We note at the outset that our analysis is specific to the
             case before us, in which a former President has been indicted
             on federal criminal charges arising from his alleged conspiracy
             to overturn federal election results and unlawfully overstay his
             Presidential term.8 We consider the policy concerns at issue in
             this case in two respects. First, we assess possible intrusions
             on the authority and functions of the Executive Branch and the
             countervailing interests to be served as those concerns apply to
             former President Trump’s claim that former Presidents are
             categorically immune from federal prosecution. We conclude
             that the interest in criminal accountability, held by both the
             public and the Executive Branch, outweighs the potential risks
             of chilling Presidential action and permitting vexatious
             litigation. Second, we examine the additional interests raised
             by the nature of the charges in the Indictment: The Executive
             Branch’s interest in upholding Presidential elections and
             vesting power in a new President under the Constitution and
             the voters’ interest in democratically selecting their President.
             We find these interests compel the conclusion that former
             President Trump is not immune from prosecution under the
             Indictment.


                 8
                    We do not address policy considerations implicated in the
             prosecution of a sitting President or in a state prosecution of a
             President, sitting or former.
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 32 of 57




                                             32
                      1.   CATEGORICAL IMMUNITY DEFENSE

                  Former President Trump argues that criminal liability for
             former Presidents risks chilling Presidential action while in
             office and opening the floodgates to meritless and harassing
             prosecution. These risks do not overcome “the public interest
             in fair and accurate judicial proceedings,” which “is at its
             height in the criminal setting.” Vance, 140 S. Ct. at 2424.

                   Former President Trump first asserts that the prospect of
             potential post-Presidency criminal liability would inhibit a
             sitting President’s ability to act “fearlessly and impartially,”
             citing the “especially sensitive duties” of the President and the
             need for “bold and unhesitating action.” Appellant’s Br. 21–
             22 (quoting Fitzgerald, 457 U.S. at 745–46). But “[t]he chance
             that now and then there may be found some timid soul who will
             take counsel of his fears and give way to their repressive power
             is too remote and shadowy to shape the course of justice.”
             Clark v. United States, 289 U.S. 1, 16 (1933). In Clark, the
             Supreme Court dismissed the threat of a chilling effect, holding
             that jurors could be subject to criminal prosecution for conduct
             during their jury service and explaining that a “juror of integrity
             and reasonable firmness will not fear to speak his mind if the
             confidences of debate are barred to the ears of mere
             impertinence or malice.” Id. Rather, the Court observed, “[h]e
             will not expect to be shielded against the disclosure of his
             conduct in the event that there is evidence reflecting upon his
             honor.” Id. The Court reinforced the point in United States v.
             Nixon, holding that it could not “conclude that [Presidential]
             advisers will be moved to temper the candor of their remarks
             by the infrequent occasions of disclosure because of the
             possibility that such conversations will be called for in the
             context of a criminal prosecution.” 418 U.S. at 712. So too
             here. We cannot presume that a President will be unduly
             cowed by the prospect of post-Presidency criminal liability any
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024        Page 33 of 57




                                           33
             more than a juror would be influenced by the prospect of post-
             deliberation criminal liability, or an executive aide would be
             quieted by the prospect of the disclosure of communications in
             a criminal prosecution.

                  Moreover, past Presidents have understood themselves to
             be subject to impeachment and criminal liability, at least under
             certain circumstances, so the possibility of chilling executive
             action is already in effect. Even former President Trump
             concedes that criminal prosecution of a former President is
             expressly authorized by the Impeachment Judgment Clause
             after impeachment and conviction. E.g., Oral Arg. Tr. 13:25–
             14:9. We presume that every President is aware of the
             Impeachment Judgment Clause and knows that he is “liable
             and subject to Indictment, Trial, Judgment and Punishment,
             according to Law,” at least after impeachment and conviction.
             U.S. CONST. art. I, § 3, cl. 7.

                  Additionally, recent historical evidence suggests that
             former Presidents, including President Trump, have not
             believed themselves to be wholly immune from criminal
             liability for official acts during their Presidency. President
             Gerald Ford issued a full pardon to former President Richard
             Nixon, which both former Presidents evidently believed was
             necessary to avoid Nixon’s post-resignation indictment. See,
             e.g., President Gerald R. Ford’s Proclamation 4311, Granting
             a Pardon to Richard Nixon, Ford Presidential Library (Sept. 8,
             1974); Statement by Former President Richard Nixon 1, Ford
             Presidential Library (Sept. 8, 1974). Before leaving office,
             President Bill Clinton agreed to a five-year suspension of his
             law license and a $25,000 fine in exchange for Independent
             Counsel Robert Ray’s agreement not to file criminal charges
             against him. See John F. Harris & Bill Miller, In a Deal,
             Clinton Avoids Indictment, WASH. POST (Jan. 20, 2001),
             https://perma.cc/MMR9-GDTL.            And during President
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 34 of 57




                                             34
             Trump’s 2021 impeachment proceedings for incitement of
             insurrection, his counsel argued that instead of post-Presidency
             impeachment, the appropriate vehicle for “investigation,
             prosecution, and punishment” is “the article III courts,” as
             “[w]e have a judicial process” and “an investigative process . . .
             to which no former officeholder is immune.” 167 CONG. REC.
             S607 (daily ed. Feb. 9, 2021); see also id. at S693 (daily ed.
             Feb. 12, 2021) (“[T]he text of the Constitution . . . makes very
             clear that a former President is subject to criminal sanction after
             his Presidency for any illegal acts he commits.”). In light of
             the express mention of “Indictment” in the Impeachment
             Judgment Clause and recent historical evidence of former
             Presidents acting on the apparent understanding that they are
             subject to prosecution even in the absence of conviction by the
             Senate, the risk of criminal liability chilling Presidential action
             appears to be low.

                  Instead of inhibiting the President’s lawful discretionary
             action, the prospect of federal criminal liability might serve as
             a structural benefit to deter possible abuses of power and
             criminal behavior. “Where an official could be expected to
             know that certain conduct would violate statutory or
             constitutional rights, he should be made to hesitate . . . .”
             Harlow v. Fitzgerald, 457 U.S. 800, 819 (1982). As the district
             court observed: “Every President will face difficult decisions;
             whether to intentionally commit a federal crime should not be
             one of them.” Trump, --- F. Supp. 3d ---, 2023 WL 8359833,
             at *9.

                  Former President Trump next urges that a lack of criminal
             immunity will subject future Presidents to politically motivated
             prosecutions as soon as they leave office. In the civil context,
             the Supreme Court found official-act Presidential immunity
             necessary in part to avoid “subject[ing] the President to trial on
             virtually every allegation that an action was unlawful, or was
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 35 of 57




                                            35
             taken for a forbidden purpose.” Fitzgerald, 457 U.S. at 756;
             see id. at 753 (“In view of the visibility of his office and the
             effect of his actions on countless people, the President would
             be an easily identifiable target for suits for civil damages.”).
             But the decision to initiate a federal prosecution is committed
             to the prosecutorial discretion of the Executive Branch.
             Prosecutors have ethical obligations not to initiate unfounded
             prosecutions and “courts presume that they . . . properly
             discharge[] their official duties.” United States v. Armstrong,
             517 U.S. 456, 464 (1996) (quoting United States v. Chem.
             Found., Inc., 272 U.S. 1, 14–15 (1926)). There are additional
             safeguards in place to prevent baseless indictments, including
             the right to be charged by a grand jury upon a finding of
             probable cause. U.S. CONST. amend. V; Kaley v. United States,
             571 U.S. 320, 328 (2014). “[G]rand juries are prohibited from
             engaging in ‘arbitrary fishing expeditions’ and initiating
             investigations ‘out of malice or an intent to harass.’” Vance,
             140 S. Ct. at 2428 (quoting United States v. R. Enters., Inc.,
             498 U.S. 292, 299 (1991)). Additionally, former President
             Trump’s “predictive judgment” of a torrent of politically
             motivated prosecutions “finds little support in either history or
             the relatively narrow compass of the issues raised in this
             particular case,” see Clinton, 520 U.S. at 702, as former
             President Trump acknowledges that this is the first time since
             the Founding that a former President has been federally
             indicted. Weighing these factors, we conclude that the risk that
             former Presidents will be unduly harassed by meritless federal
             criminal prosecutions appears slight.

                  On the other side of the scale, we must consider “the
             constitutional weight of the interest to be served” by allowing
             the prosecution of a former President to proceed. Fitzgerald,
             457 U.S. at 754. The public has a fundamental interest in the
             enforcement of criminal laws. Vance, 140 S. Ct. at 2424.
             “[O]ur historic commitment to the rule of law . . . is nowhere
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 36 of 57




                                             36
             more profoundly manifest than in our view that ‘the twofold
             aim (of criminal justice) is that guilt shall not escape or
             innocence suffer.’” Nixon, 418 U.S. at 708–09 (quoting Berger
             v. United States, 295 U.S. 78, 88 (1935)). As the Nixon Court
             explained, wholly immunizing the President from the criminal
             justice process would disturb “the primary constitutional duty
             of the Judicial Branch to do justice in criminal prosecutions” to
             such an extent that it would undermine the separation of powers
             by “plainly conflict[ing] with the function of the courts under
             Art. III.” Nixon, 418 U.S. at 707.

                  There is also a profound Article II interest in the
             enforcement of federal criminal laws. The President has a
             constitutionally mandated duty to “take Care that the Laws be
             faithfully executed.” U.S. CONST. art. II, § 3. As part of this
             duty, the President is responsible for investigating and
             prosecuting criminal violations. See Morrison v. Olson, 487
             U.S. 654, 706 (1988) (Scalia, J., dissenting) (“Governmental
             investigation and prosecution of crimes is a quintessentially
             executive function.”); see also In re Lindsey, 158 F.3d 1263,
             1272 (D.C. Cir. 1998) (“Investigation and prosecution of
             federal crimes is one of the most important and essential
             functions       within     [the     President’s]     constitutional
             responsibility.”); Cmty. For Creative Non-Violence v. Pierce,
             786 F.2d 1199, 1201 (D.C. Cir. 1986) (“The power to decide
             when to investigate, and when to prosecute, lies at the core of
             the Executive’s duty to see to the faithful execution of the
             laws . . . .”). Beyond simply making explicit that a President
             must enforce the law, the Take Care Clause plays a central role
             in “signify[ing] . . . the principle that ours is a government of
             laws, not of men, and that we submit ourselves to rulers only if
             under rules.” Youngstown, 343 U.S. at 646 (Jackson, J.,
             concurring). It would be a striking paradox if the President,
             who alone is vested with the constitutional duty to “take Care
USCA Case #23-3228        Document #2039001              Filed: 02/06/2024        Page 37 of 57




                                            37
             that the Laws be faithfully executed,” were the sole officer
             capable of defying those laws with impunity.

                  The federal prosecution of a former President fits the case
             “[w]hen judicial action is needed to serve broad public
             interests” in order to “vindicate the public interest in an
             ongoing criminal prosecution.” Fitzgerald, 457 U.S. at 754.
             The risks of chilling Presidential action or permitting meritless,
             harassing prosecutions are unlikely, unsupported by history
             and “too remote and shadowy to shape the course of justice.”
             See Clark, 289 U.S. at 16. We therefore conclude that
             functional policy considerations rooted in the structure of our
             government do not immunize former Presidents from federal
             criminal prosecution.

                     2.    IMMUNITY FROM THE INDICTMENT’S
                                   CHARGES

                  In addition to the generally applicable concerns discussed
             supra, the allegations of the Indictment implicate the Article II
             interests in vesting authority in a new President and the
             citizenry’s interest in democratically selecting its President.

                  The Indictment alleges that the assertedly “official”
             actions at issue here were undertaken by former President
             Trump in furtherance of a conspiracy to unlawfully overstay
             his term as President and to displace his duly elected successor.
             See Indictment ¶¶ 2, 10. That alleged conduct violated the
             constitutionally established design for determining the results
             of the Presidential election as well as the Electoral Count Act
             of 1887, neither of which establishes a role for the President in
             counting and certifying the Electoral College votes. U.S.
             CONST. art. II, § 1, cl. 3; id. amend. XII; 3 U.S.C. § 15,
             amended by 136 Stat. 4459, 5238 (2022); see Indictment ¶¶ 9–
             10. The alleged conduct also violated Article II’s mandate that
             a President “hold his Office during the Term of four Years.”
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 38 of 57




                                            38
             U.S. CONST. art. II, § 1, cl. 1. The Twentieth Amendment
             reinforces the discrete nature of a presidential term, explicitly
             providing that “[t]he terms of the President and Vice President
             shall end at noon on the 20th day of January . . .; and the terms
             of their successors shall then begin.” U.S. CONST. amend. XX,
             § 1. Upon “the expiration of the time for which he is elected,”
             a former president “returns to the mass of the people again” and
             the power of the Executive Branch vests in the newly elected
             President. Burr, 25 F. Cas. at 34; U.S. CONST. art. II, § 1, cl. 1
             (“The executive Power shall be vested in a President of the
             United States of America.”) (emphasis added).

                  The President, of course, also has a duty under the Take
             Care Clause to faithfully enforce the laws. This duty
             encompasses following the legal procedures for determining
             election results and ensuring that executive power vests in the
             new President at the constitutionally appointed time. To the
             extent former President Trump maintains that the post-2020
             election litigation that his campaign and supporters
             unsuccessfully pursued implemented his Take Care duty, he is
             in error. See infra n.14. Former President Trump’s alleged
             conduct conflicts with his constitutional mandate to enforce the
             laws governing the process of electing the new President.

                  The public has a strong interest in the foundational
             principle of our government that the will of the people, as
             expressed in the Electoral College vote, determines who will
             serve as President. See U.S. CONST. amend. XII (“The Electors
             shall meet in their respective states, and vote by ballot for
             President and Vice-President. . . . The person having the
             greatest number of votes for President, shall be the
             President.”); Chiafalo v. Washington, 140 S. Ct. 2316, 2328
             (2020) (“Early in our history, States decided to tie electors to
             the presidential choices of [citizens].”). The Supreme Court
             recently noted that “the Framers made the President the most
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 39 of 57




                                             39
             democratic and politically accountable official in
             Government,” the only one who (along with the Vice
             President) is “elected by the entire Nation.” Seila Law LLC v.
             Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2203 (2020).
             “To justify and check” the President’s “unique [authority] in
             our constitutional structure,” Article II “render[s] the President
             directly accountable to the people through regular elections.”
             Id. As James Madison put it, “[a] dependence on the people is,
             no doubt, the primary control on the government.” The
             Federalist No. 51, at 253 (James Madison) (Coventry House
             Publishing, 2015)9; see also Morrison, 487 U.S. at 731 (Scalia,
             J., dissenting) (“[T]he Founders . . . established a single Chief
             Executive accountable to the people” so that “the blame [could]
             be assigned to someone who can be punished.”). Thus, the
             quadrennial Presidential election is a crucial check on
             executive power because a President who adopts unpopular
             policies or violates the law can be voted out of office.

                  Former President Trump’s alleged efforts to remain in
             power despite losing the 2020 election were, if proven, an
             unprecedented assault on the structure of our government. He
             allegedly injected himself into a process in which the President
             has no role — the counting and certifying of the Electoral
             College votes — thereby undermining constitutionally
             established procedures and the will of the Congress. To
             immunize former President Trump’s actions would “further . . .
             aggrandize the presidential office, already so potent and so
             relatively immune from judicial review, at the expense of
             Congress.” Youngstown, 343 U.S. at 654 (Jackson, J.,
             concurring) (footnote omitted). As Justice Jackson warned:


                 9
                   Federalist No. 51 is “generally attributed to Madison” but is
             “sometimes attributed to ‘Hamilton or Madison.’” INS v. Chadha,
             462 U.S. 919, 950 (1983).
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024      Page 40 of 57




                                            40
                     Executive power has the advantage of
                     concentration in a single head in whose choice
                     the whole Nation has a part, making him the
                     focus of public hopes and expectations. In
                     drama, magnitude and finality his decisions so
                     far overshadow any others that almost alone he
                     fills the public eye and ear. No other personality
                     in public life can begin to compete with him in
                     access to the public mind through modern
                     methods of communications. By his prestige as
                     head of state and his influence upon public
                     opinion he exerts a leverage upon those who are
                     supposed to check and balance his power which
                     often cancels their effectiveness.

             Id. at 653–54 (Jackson, J., concurring).

                  We cannot accept former President Trump’s claim that a
             President has unbounded authority to commit crimes that
             would neutralize the most fundamental check on executive
             power — the recognition and implementation of election
             results. Nor can we sanction his apparent contention that the
             Executive has carte blanche to violate the rights of individual
             citizens to vote and to have their votes count.

                                        *    *    *

                  At bottom, former President Trump’s stance would
             collapse our system of separated powers by placing the
             President beyond the reach of all three Branches. Presidential
             immunity against federal indictment would mean that, as to the
             President, the Congress could not legislate, the Executive could
             not prosecute and the Judiciary could not review. We cannot
             accept that the office of the Presidency places its former
             occupants above the law for all time thereafter. Careful
             evaluation of these concerns leads us to conclude that there is
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024        Page 41 of 57




                                           41
             no functional justification for immunizing former Presidents
             from federal prosecution in general or for immunizing former
             President Trump from the specific charges in the Indictment.
             In so holding, we act, “not in derogation of the separation of
             powers, but to maintain their proper balance.” See Fitzgerald,
             457 U.S. at 754.

                  C. THE IMPEACHMENT JUDGMENT CLAUSE

                  The strongest evidence against former President Trump’s
             claim of immunity is found in the words of the Constitution.
             The Impeachment Judgment Clause provides that “[j]udgment
             in Cases of Impeachment shall not extend further than to
             removal from Office, and disqualification to hold and enjoy
             any Office of honor, Trust or Profit under the United States:
             but the Party convicted shall nevertheless be liable and subject
             to Indictment, Trial, Judgment and Punishment, according to
             Law.” U.S. CONST. art. I, § 3, cl. 7. That language limits the
             consequences of impeachment to removal and disqualification
             from office, but explicitly preserves the option of criminal
             prosecution of an impeached official “according to Law.”

                  Former President Trump agrees that the Impeachment
             Judgment Clause contemplates and permits the prosecution of
             a former President on criminal charges — he argues only that
             such a former President first must be impeached by the House
             and “convicted” by the Senate. Appellant’s Br. 12–14, 31. In
             other words, he asserts that, under the Clause, a former
             President enjoys immunity for any criminal acts committed
             while in office unless he is first impeached and convicted by
             the Congress. Under that theory, he claims that he is immune
             from prosecution because he was impeached and acquitted. By
             taking that position, former President Trump potentially
             narrows the parties’ dispute to whether he may face criminal
             charges in this case consistent with the Impeachment Judgment
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 42 of 57




                                            42
             Clause: If the Clause requires an impeachment conviction first,
             he may not be prosecuted; but if it contains no such
             requirement, the Clause presents no impediment to his
             prosecution.

                  Former President Trump also implicitly concedes that
             there is no absolute bar to prosecuting assertedly “official”
             actions. He argues elsewhere in his brief that his impeachment
             on the charge of inciting insurrection was based on conduct that
             was the “same and closely related” to the “official acts”
             charged in the Indictment. Appellant’s Br. 46 (“President
             Trump was impeached and acquitted by the Senate for the same
             and closely related conduct to that alleged in the indictment.”
             (emphasis omitted)); id. at 42 (“[A]ll five types of conduct
             alleged in the indictment constitute official acts.”). And he
             agrees that if he had been convicted by the Senate in that
             impeachment trial, he would not be immune from prosecution
             for the “official acts” at issue here. See id. at 31. Thus, he
             concedes that a President can be prosecuted for broadly defined
             “official acts,” such as the ones alleged in the Indictment, under
             some circumstances, i.e., following an impeachment
             conviction.

                  The Impeachment Judgment Clause is focused solely on
             those who are convicted by the Senate following impeachment
             by the House. The first part of the Clause limits the penalties
             that can be imposed based on an impeachment conviction:
             “Judgment in Cases of Impeachment shall not extend further
             than to removal from Office, and disqualification to hold and
             enjoy any Office of honor, Trust or Profit under the United
             States.” U.S. CONST. art. I, § 3, cl. 7. The second part makes
             clear that the limited consequences of impeachment do not
             immunize convicted officers from criminal prosecution:
             “[T]he Party convicted shall nevertheless be liable and subject
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 43 of 57




                                            43
             to Indictment, Trial, Judgment and Punishment, according to
             Law.” Id.

                  In former President Trump’s view, however, the word
             “convicted” in the second phrase implicitly bestows immunity
             on Presidents who are not convicted, based on a negative
             implication. He asserts that the Impeachment Judgment Clause
             “presupposes” that a President is not criminally liable absent a
             conviction in the Senate. Appellant’s Br. 12. Other courts have
             rejected this “tortured” interpretation of the Impeachment
             Judgment Clause, which previously has been advanced to
             support claims of judicial immunity. See Claiborne, 727 F.2d
             at 846 (“According to Claiborne, this language means that a
             federal judge cannot be indicted and tried in an Article III court
             unless he has been removed from office by the impeachment
             process. Both Isaacs and Hastings rejected this tortured
             interpretation . . . .” (cleaned up)); Hastings, 681 F.2d at 710;
             Isaacs, 493 F.2d at 1142 (The Impeachment Judgment Clause
             “does not mean that a judge may not be indicted and tried
             without impeachment first.”). Moreover, former President
             Trump’s interpretation runs counter to the text, structure and
             purpose of the Impeachment Judgment Clause. See N.L.R.B. v.
             SW Gen., Inc., 580 U.S. 288, 302 (2017) (“The force of any
             negative implication . . . depends on context,” and “applies
             only when circumstances support a sensible inference that the
             term left out must have been meant to be excluded.” (cleaned
             up)); Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1069 (D.C. Cir.
             2018) (“Finding the negative implication of a statute is a
             context-specific exercise.”).

                 To begin, former President Trump’s reliance on a negative
             implication is an immediate red flag: The Framers knew how
             to explicitly grant criminal immunity in the Constitution, as
             they did to legislators in the Speech or Debate Clause. See U.S.
             CONST. art. I, § 6, cl. 1. Yet they chose not to include a similar
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 44 of 57




                                             44
             provision granting immunity to the President. See Vance, 140
             S. Ct. at 2434 (Thomas, J., dissenting) (“The text of the
             Constitution explicitly addresses the privileges of some federal
             officials, but it does not afford the President absolute
             immunity.”). The Impeachment Judgment Clause merely
             states that “the Party convicted” shall nevertheless be subject
             to criminal prosecution. The text says nothing about non-
             convicted officials. Former President Trump’s reading rests on
             a logical fallacy: Stating that “if the President is convicted, he
             can be prosecuted,” does not necessarily mean that “if the
             President is not convicted, he cannot be prosecuted.” See, e.g.,
             N.L.R.B. v. Noel Canning, 573 U.S. 513, 589 (2014) (Scalia, J.,
             concurring) (explaining “the fallacy of the inverse (otherwise
             known as denying the antecedent): the incorrect assumption
             that if P implies Q, then not-P implies not-Q”).

                  Another important clue is the Clause’s use of the word
             “nevertheless,” as in “the Party convicted shall nevertheless be
             liable.” U.S. CONST. art. I, § 3, cl. 7 (emphasis added). The
             meaning of “neverthele’ss,” according to a contemporaneous
             18th century dictionary, is “[n]otwithsta’nding that,” which in
             turn means “[w]ithout hindrance or obstruction from.” 2
             Samuel Johnson, A Dictionary of the English Language 200,
             216 (1773). The Impeachment Judgment Clause contains no
             words that limit criminal liability — and, to the contrary, it uses
             “nevertheless” to ensure that liability will not be limited (i.e.,
             “hindered or obstructed”), even after an official is impeached,
             convicted and removed from office.

                 The text of the Impeachment Judgment Clause reflects its
             purpose: To allocate responsibility between the Legislative
             and Executive branches for holding impeached officers
             accountable for misconduct. In 18th-century Great Britain,
             impeachment could result in “capital punishment . . . fine and
             ransom[,] or imprisonment.” 2 Joseph Story, Commentaries on
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 45 of 57




                                             45
             the Constitution of the United States § 782; see also Whether a
             Former President May Be Indicted and Tried for the Same
             Offenses for Which He was Impeached by the House and
             Acquitted by the Senate, 24 Op. O.L.C. 110, 120 (2000)
             (hereinafter, “OLC Double Jeopardy Memo”) (noting that
             impeachment in Britain could have resulted “in a wide array of
             criminal penalties, including fines, imprisonment, and even
             execution”). The Framers chose to withhold such broad power
             from the Senate, specifying instead that the Senate could
             impose “only political, not ordinary criminal, punishments.”
             OLC Double Jeopardy Memo at 124; see also Tench Coxe, An
             American Citizen, Independent Gazetteer (Philadelphia), Sept.
             28, 1787 (The Senate “can only, by conviction on
             impeachment, remove and incapacitate a dangerous
             officer . . . .” (emphasis in original)). That approach naturally
             “raise[d] the question whether the other punishments the
             founding generation was accustomed to seeing” in British
             impeachment proceedings “could be imposed at all under the
             new American government.” OLC Double Jeopardy Memo at
             126. The Framers wished to make clear that a President would
             “still be liable to prosecution and punishment in the ordinary
             course of law.” The Federalist No. 65, at 321 (Alexander
             Hamilton) (Coventry House Publishing, 2015); Coxe, An
             American Citizen (“[T]he punishment of [a dangerous officer]
             as a criminal remains within the province of the courts of law
             to be conducted under all the ordinary forms and
             precautions . . . .” (emphasis in original)). They therefore
             added the provision that “the Party convicted shall nevertheless
             be liable and subject to Indictment, Trial, Judgment and
             Punishment, according to Law.” U.S. CONST. art. I, § 3, cl. 7.
             As the Office of Legal Counsel noted, that “second part makes
             clear that the restriction on sanctions in the first part was not a
             prohibition on further punishments; rather, those punishments
             would still be available but simply not to the [Senate].” OLC
             Double Jeopardy Memo at 126–27. In short, then, the Framers
USCA Case #23-3228      Document #2039001                  Filed: 02/06/2024          Page 46 of 57




                                              46
             intended impeached officials to face criminal liability
             “according to Law.” U.S. CONST. art. I, § 3, cl. 7.

                  To counter the historical evidence that explains the
             purpose of the Impeachment Judgment Clause, former
             President Trump turns to one sentence written by Alexander
             Hamilton in the Federalist 69: “The President of the United
             States would be liable to be impeached, tried, and, upon
             conviction of treason, bribery, or other high crimes or
             misdemeanors, removed from office; and would afterwards be
             liable to prosecution and punishment in the ordinary course of
             law.” The Federalist No. 69, at 337 (Alexander Hamilton)
             (Coventry House Publishing, 2015). He focuses on the word
             “afterwards” and suggests that a President is not “liable to
             prosecution and punishment” until “after[]” he has been
             impeached and convicted by the Senate. See Appellant’s Br.
             14–15. But we think the more significant word in Hamilton’s
             statement is “liable,” which means “subject to.” Liable, 1 John
             Ash, New and Complete Dictionary of the English Language
             (1795). Hamilton specifies that a President would be subject
             to impeachment, trial, conviction and removal from office; and
             “afterwards” would be subject to prosecution and punishment,
             without regard to the verdict in the impeachment proceeding.10
             Moreover, in the very next sentence of the same essay,
             Hamilton stresses that the President must be unlike the “king
             of Great Britain,” who was “sacred and inviolable.” The

                  10
                     Former President Trump also cites to Hamilton’s statement
             in Federalist 77 that the President is “at all times liable to
             impeachment, trial, dismission from office, incapacity to serve in any
             other, and to forfeiture of life and estate by subsequent prosecution
             in the common course of law.” The Federalist No. 77, at 378–79
             (Alexander Hamilton) (Coventry House Publishing, 2015) (emphasis
             added). This argument is similarly unavailing based on Federalist
             77’s analogous use of “liable.”
USCA Case #23-3228     Document #2039001                 Filed: 02/06/2024        Page 47 of 57




                                            47
             Federalist No. 69, at 337–38. It strains credulity that Hamilton
             would have endorsed a reading of the Impeachment Judgment
             Clause that shields Presidents from all criminal accountability
             unless they are first impeached and convicted by the Congress.

                   Other historical evidence further supports our conclusion.
             For example, many founding-era sources state that an
             impeached-and-acquitted official may face criminal indictment
             and trial. Edmund Pendleton, President of the Virginia
             Ratifying Convention, noted that Senate “obstruction” of an
             impeachment charge would not allow an official to escape
             accountability because the people “may yet resort to the Courts
             of Justice, as an Acquital [sic] would not bar that remedy.” 10
             The Documentary History of the Ratification of the
             Constitution 1773 (Merrill Jensen et al, eds. 1976) (Letter from
             Edmund Pendleton to James Madison, Oct. 8, 1787).
             Similarly, James Wilson — a member of the Constitutional
             Convention committee that drafted the Impeachment Judgment
             Clause — argued as follows: “Though [Senators] may not be
             convicted on impeachment before the Senate, they may be tried
             by their country; and if their criminality is established, the law
             will punish. A grand jury may present, a petit jury may convict,
             and the judges will pronounce the punishment.” See 2 The
             Documentary History of the Ratification of the Constitution
             492 (Merrill Jensen et al, eds. 1976); see also 9 Annals of Cong.
             2475 (1798) (statement of Rep. Dana) (“[W]hether a person
             tried under an impeachment be found guilty or acquitted, he is
             still liable to a prosecution at common law.”).

                  In drafting the Impeachment Judgment Clause, to the
             extent that the Framers contemplated whether impeachment
             would have a preclusive effect on future criminal charges, the
             available evidence suggests that their intent was to ensure that
             a subsequent prosecution would not be barred. See OLC
             Double Jeopardy Memo at 122 (noting limited scope of
USCA Case #23-3228      Document #2039001                   Filed: 02/06/2024          Page 48 of 57




                                               48
             discussion at the Constitutional Convention and ratifying
             conventions regarding the Impeachment Judgment Clause).
             Joseph Story explained that the Impeachment Judgment Clause
             removed doubt that “a second trial for the same offence could
             be had, either after an acquittal, or a conviction in the court of
             impeachments.” 2 Story, Commentaries § 780; id. § 781
             (noting the Constitution “has wisely subjected the party to trial
             in the common criminal tribunals, for the purpose of receiving
             such punishment, as ordinarily belongs to the offence”). Story
             explained that without a criminal trial “the grossest official
             offenders might escape without any substantial punishment,
             even for crimes, which would subject their fellow citizens to
             capital punishment.” Id. § 780.11

                 Finally, the practical consequences of former President
             Trump’s interpretation demonstrate its implausibility. The
             Impeachment Judgment Clause applies not just to Presidents
             but also to the “Vice President and all civil Officers of the
             United States.” U.S. CONST. art. II, § 4. Thus, his reading
             would prohibit the Executive Branch from prosecuting current
             and former civil officers for crimes committed while in office,

                  11
                      Former President Trump points to some historical evidence
             that he considers countervailing. He notes that some state
             constitutions explicitly provided for the criminal prosecution of a
             party acquitted on impeachment charges, arguing that silence on that
             point therefore should be inferred as precluding prosecution. But
             some early state constitutions also expressly granted criminal
             immunity to the state’s chief executive, so interpreting silence is not
             so simple. See Saikrishna Bangalore Prakash, Prosecuting and
             Punishing Our Presidents, 100 Tex. L. Rev. 55, 69–70 (2021) (citing
             1776 Virginia and Delaware constitutions). Any limited, indirect
             historical clues must be weighed against the compelling textual,
             structural and historical evidence that the Founders did not intend the
             Impeachment Judgment Clause to bar the criminal prosecution of an
             official who was impeached and acquitted (or not impeached at all).
USCA Case #23-3228      Document #2039001                  Filed: 02/06/2024         Page 49 of 57




                                              49
             unless the Congress first impeached and convicted them. No
             court has previously imposed such an irrational “impeachment
             first” constraint on the criminal prosecution of federal officials.
             See, e.g., Isaacs, 493 F.2d at 1144 (“[W]e are convinced that a
             federal judge is subject to indictment and trial before
             impeachment . . . .”).12 Even if there is an atextual basis for
             treating Presidents differently from subordinate government
             officials, as former President Trump suggests, his proposed
             interpretation still would leave a President free to commit all
             manner of crimes with impunity, so long as he is not impeached
             and convicted. Former President Trump’s interpretation also
             would permit the commission of crimes not readily categorized
             as impeachable (i.e., as “Treason, Bribery, or other high Crimes
             and Misdemeanors”) and, if thirty Senators are correct, crimes
             not discovered until after a President leaves office. See U.S.
             CONST. art. II, § 4; see also, e.g., 167 CONG. REC. S736 (daily
             ed. Feb. 13, 2021) (statement of Senate Minority Leader
             McConnell) (“We have no power to convict and disqualify a
             former office holder who is now a private citizen.”).13 All of

                 12
                     Indeed, history reveals examples of prosecutions preceding
             impeachments. See Nixon v. United States, 506 U.S. 224, 226–27
             (1993) (defendant judge criminally prosecuted and then impeached);
             Hastings v. United States Senate, 716 F. Supp. 38, 41 (D.D.C. 1989)
             (same); Amenability of the President, Vice President and other Civil
             Officers to Federal Criminal Prosecution While in Office, Op.
             O.L.C. 4 (1973) (observing that, as of 1973, only 12 impeachments
             had occurred, but “presumably scores, if not hundreds, of officers of
             the United States have been subject to criminal proceedings for
             offenses for which they could have been impeached”).
                 13
                       See also statements of Senators Barrasso, Blunt, Braun,
             Capito, Cornyn, Cramer, Crapo, Daines, Ernst, Fischer, Grassley,
             Hoeven, Hyde-Smith, Inhofe, Kennedy, Lankford, Lee, Lummis,
             Moran, Portman, Risch, Rounds, Rubio, Shelby, Sullivan, Thune,
             Tillis, Tuberville and Wicker.
USCA Case #23-3228       Document #2039001                   Filed: 02/06/2024           Page 50 of 57




                                                50
             this leads us to conclude that, under the best reading of the
             Impeachment Judgment Clause, a former President may be
             criminally prosecuted in federal court, without any requirement
             that he first be impeached and convicted for the same
             conduct.14

                       IV. DOUBLE JEOPARDY PRINCIPLES

                 Former President Trump alternatively argues that the
             Impeachment Judgment Clause and “principles of double
             jeopardy” bar his prosecution because he was impeached by the



                  14
                       Because we conclude that former President Trump is not
             entitled to categorical immunity from criminal liability for assertedly
             “official” acts, it is unnecessary to explore whether executive
             immunity, if it applied here, would encompass his expansive
             definition of “official acts.” Nevertheless, we observe that his
             position appears to conflict with our recent decision in Blassingame,
             87 F.4th at 1. According to the former President, any actions he took
             in his role as President should be considered “official,” including all
             the conduct alleged in the Indictment. Appellant’s Br. 41–42. But
             in Blassingame, taking the plaintiff’s allegations as true, we held that
             a President’s “actions constituting re-election campaign activity” are
             not “official” and can form the basis for civil liability. 87 F.4th at
             17. In other words, if a President who is running for re-election acts
             “as office-seeker, not office-holder,” he is not immune even from
             civil suits. Id. at 4 (emphasis in original). Because the President has
             no official role in the certification of the Electoral College vote,
             much of the misconduct alleged in the Indictment reasonably can be
             viewed as that of an office-seeker — including allegedly organizing
             alternative slates of electors and attempting to pressure the Vice
             President and Members of the Congress to accept those electors in
             the certification proceeding. It is thus doubtful that “all five types of
             conduct alleged in the indictment constitute official acts.”
             Appellant’s Br. 42.
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024        Page 51 of 57




                                           51
             House of Representatives for the same or closely related
             conduct but acquitted by the Senate. We disagree.

                  As we have discussed, supra Part III.C, the Impeachment
             Judgment Clause addresses only convicted parties; it does not
             address the consequences of a Senate acquittal. For the reasons
             already stated, the Clause’s provision that “the Party convicted
             shall nevertheless be liable and subject to Indictment, Trial,
             Judgment and Punishment, according to Law” does not bar the
             prosecution of an official who, like former President Trump,
             was acquitted rather than “convicted” in an impeachment
             proceeding; nor does it bar the prosecution of an official who
             was never impeached in the first place. U.S. CONST. art. I, § 3,
             cl. 7. The Clause simply does not speak to such matters. But
             the weight of historical authority indicates that the Framers
             intended for public officials to face ordinary criminal
             prosecution as well as impeachment. Supra Part III.C.

                  To the extent former President Trump relies on “double
             jeopardy principles” beyond the text of the Impeachment
             Judgment Clause, those principles cut against him. The Double
             Jeopardy Clause provides: “No person shall . . . be subject for
             the same offence to be twice put in jeopardy of life or limb.”
             U.S. CONST. amend. V. It has been interpreted to prohibit
             “imposition of multiple criminal punishments for the same
             offense.” Hudson v. United States, 522 U.S. 93, 99 (1997)
             (citation omitted). Under precedent interpreting the Double
             Jeopardy Clause, former President Trump’s impeachment
             acquittal does not bar his subsequent criminal prosecution for
             two reasons: (1) An impeachment does not result in criminal
             punishments; and (2) the Indictment does not charge the same
             offense as the single count in the Impeachment Resolution.
USCA Case #23-3228      Document #2039001                 Filed: 02/06/2024         Page 52 of 57




                                             52
                      A. IMPEACHMENT IS NOT “CRIMINAL”

                  Under the Double Jeopardy Clause, a defendant is not “put
             in jeopardy of life or limb,” U.S. CONST. amend. V, when faced
             with any penalty “that could, in common parlance, be described
             as punishment”; instead, double jeopardy guards only against
             “imposition of multiple criminal punishments for the same
             offense.” Hudson, 522 U.S. at 99 (cleaned up). Although
             double jeopardy applies only to criminal punishments,
             impeachment imposes political punishments.

                  Impeachment is a political process that is instigated and
             overseen by the Congress. See 2 Story, Commentaries § 784
             (“There is wisdom, and sound policy, and intrinsic justice in
             this separation of the offence, at least so far, as the jurisdiction
             and trial are concerned, into its proper elements, bringing the
             political part under the power of the political department of the
             government . . . .” (emphasis added)); 9 Annals of Cong. 2475
             (1798) (statement of Rep. Dana) (“The process in cases of
             impeachment, in this country, is distinct from either civil or
             criminal — it is a political process, having in view the
             preservation of the Government of the Union.”). It is a tool
             entrusted to elected officials and “designed to enable Congress
             to protect the nation against officers who have demonstrated
             that they are unfit to carry out important public
             responsibilities.” OLC Double Jeopardy Memo at 130; see The
             Federalist No. 66, at 324 (Alexander Hamilton) (Coventry
             House Publishing, 2015) (“[T]he powers relating to
             impeachments are, as before intimated, an essential check in
             the hands of [Congress] upon the encroachments of the
             executive.”); Mazars USA, LLP, 140 S. Ct. at 2046 (Thomas,
             J., dissenting) (“The founding generation understood
             impeachment as a check on Presidential abuses.”). The
             consequences imposed by an impeachment conviction —
             removal from office and disqualification from future service,
USCA Case #23-3228     Document #2039001                Filed: 02/06/2024        Page 53 of 57




                                            53
             U.S. CONST. art. I, § 3, cl. 7. — are intended to hold officials
             politically accountable, while leaving criminal accountability
             to the Judicial Branch.

                  As a result of the political nature of impeachment
             proceedings, impeachment acquittals are often unrelated to
             factual innocence. See The Federalist No. 65, at 319 (In an
             impeachment proceeding, “there will always be the greatest
             danger that the decision will be regulated more by the
             comparative strength of parties, than by the real demonstrations
             of innocence or guilt.”). Former President Trump’s acquittal
             in his impeachment trial on the charge of inciting insurrection
             makes this point. The forty-three Senators who voted to acquit
             him relied on a variety of concerns, many of which had nothing
             to do with whether he committed the charged offense. Those
             Senators cited jurisdictional reasons, see, e.g., 167 CONG. REC.
             S736 (daily ed. Feb. 13, 2021) (statement of Senate Minority
             Leader McConnell) (“We have no power to convict and
             disqualify a former office holder who is now a private
             citizen.”); process-based reasons, see, e.g., Press Release, Sen.
             Todd Young, Senator Young Statement on Impeachment Trial
             (Feb. 13, 2021), https://perma.cc/26Z8-XYTT (“Simply put,
             the U.S. House of Representatives conducted a rushed and
             incomplete process for this snap impeachment.”); and political
             reasons, see, e.g., Press Release, Sen. Ron Johnson, Johnson
             Statement on Impeachment Trial of Former President Trump
             (Feb. 13, 2021), https://perma.cc/L4EZ-7C77 (“The
             Democrats’ vindictive and divisive political impeachment is
             over. While there are still many questions that remain
             unanswered, I do know neither the Capitol breach nor this trial
             should have ever occurred. Hopefully, true healing can now
             begin.”). Indeed, at least thirty Senators who voted to acquit
             relied at least in part on a belief that the Senate lacked the
             power to convict a former President. See supra n.13.
USCA Case #23-3228      Document #2039001                Filed: 02/06/2024         Page 54 of 57




                                             54
                  Criminal prosecutions, by contrast, are aimed at
             “penaliz[ing] individuals for their criminal misdeeds . . . by
             taking away their life, liberty, or property.” OLC Double
             Jeopardy Memo at 130; see also Kansas v. Hendricks, 521 U.S.
             346, 361–62 (1997) (identifying “retribution [and] deterrence”
             as “the two primary objectives of criminal punishment”). The
             consequences of a criminal conviction are predicated on a
             finding of guilt beyond a reasonable doubt, United States v.
             Gaudin, 515 U.S. 506, 510 (1995); and such consequences can
             be severe, including asset forfeiture, incarceration and even
             death, see, e.g., 18 U.S.C. §§ 982, 3581, 3591. Criminal
             prosecutions are overseen by the judiciary, which enforces
             stringent procedural protections that reflect the gravity of the
             potential ramifications for the defendant. See Nixon, 418 U.S.
             at 707 (describing “the primary constitutional duty of the
             Judicial Branch to do justice in criminal prosecutions”). The
             Double Jeopardy Clause is one such procedural protection,
             ensuring that a criminal defendant is not forced to face
             prosecution twice for the same offense.

                 In light of the very different procedures and purposes
             associated with impeachment proceedings as compared to
             criminal proceedings, former President Trump’s reliance on the
             Double Jeopardy Clause is misplaced. Impeachment is not a
             criminal process and cannot result in criminal punishment.15


                 15
                     When determining whether a punishment labeled “civil” by
             the Congress is criminal for double-jeopardy purposes, courts apply
             a multi-factored test. See Kennedy v. Mendoza-Martinez, 372 U.S.
             144, 168–69 (1963). Because former President Trump does not
             contend impeachment threatens criminal punishment, and because
             we think the political nature of impeachment makes that clear, we
             need not address those factors. Cf. OLC Double Jeopardy Memo at
             139–48 (concluding, under the Mendoza-Martinez test, that removal
USCA Case #23-3228      Document #2039001                 Filed: 02/06/2024         Page 55 of 57




                                             55
             He does not seriously contend otherwise; and he does not
             explain why he believes that impeachment can implicate
             “double jeopardy principles” when it does not involve criminal
             punishment.

                                 B. BLOCKBURGER TEST

                 Even if we assume that an impeachment trial is criminal
             under the Double Jeopardy Clause, the crimes alleged in the
             Indictment differ from the offense for which President Trump
             was impeached. In determining whether two charges are the
             “same” for double-jeopardy purposes, courts apply “the same-
             elements test” (also known as the “Blockburger test”): If “each
             offense contains an element not contained in the other,” the
             offenses are different. United States v. Dixon, 509 U.S. 688,
             696 (1993) (citing Blockburger v. United States, 284 U.S. 299,
             304 (1932)) (cleaned up). If the charges at issue are not the
             “same offense” under that test, double jeopardy does not bar
             prosecution. Id. at 696–97.

                  Under the Blockburger test, none of the four offenses
             alleged in the Indictment is the same as the sole offense charged
             in the article of impeachment. The indicted criminal counts
             include conspiracy to defraud the United States under 18
             U.S.C. § 371; conspiracy to obstruct and obstructing an official
             proceeding under 18 U.S.C. §§ 1512(c)(2), (k); and conspiracy
             to deprive one or more individuals of the right to vote under 18
             U.S.C. § 241. See Indictment ¶¶ 6, 126, 128, 130. By contrast,
             the article of impeachment charged former President Trump
             with incitement of insurrection. See H.R. Res. 24, 117th Cong.
             (2021). Each of the indicted charges requires proof of an
             element other than those required for incitement. And the

             and disqualification are not criminal punishments implicating double
             jeopardy).
USCA Case #23-3228     Document #2039001               Filed: 02/06/2024        Page 56 of 57




                                           56
             offense of incitement of insurrection requires proof of
             incitement — an element that is distinct from those associated
             with each of the crimes of indictment. In other words, the
             charges are not the same under a straightforward application of
             the Blockburger test.

                   Former President Trump does not dispute this analysis and
             instead contends that, rather than applying the Blockburger
             test, a subsequent criminal prosecution cannot be based on “the
             same or closely related conduct” as an unsuccessful
             impeachment. Appellant’s Br. 52. But that argument is
             foreclosed by case law: “The ‘same-conduct’ rule . . . is wholly
             inconsistent with . . . Supreme Court precedent and with the
             clear common-law understanding of double jeopardy.” Dixon,
             509 U.S. at 704; see also Hudson, 522 U.S. at 107 (Stevens, J.,
             concurring in the judgment) (“[T]he Double Jeopardy Clause
             is not implicated simply because a criminal charge involves
             essentially the same conduct for which a defendant has
             previously been punished.” (cleaned up)).

                  Thus, well-established law interpreting the Double
             Jeopardy Clause undermines rather than supports former
             President Trump’s argument that he may not be prosecuted.
             Perhaps recognizing that normal double-jeopardy rules
             disfavor his position, he claims that the Impeachment
             Judgment Clause incorporates “double jeopardy principles”
             that are distinct from the Double Jeopardy Clause. See
             Appellant’s Br. 54 n.7. But if the “double jeopardy principles”
             he invokes are unmoored from the Double Jeopardy Clause, we
             are unable to discern what the principles are or how to apply
             them. He thus fails to establish that his Senate acquittal bars
             his criminal prosecution.

                                       *    *   *
USCA Case #23-3228      Document #2039001                    Filed: 02/06/2024          Page 57 of 57




                                               57
                  We have balanced former President Trump’s asserted
             interests in executive immunity against the vital public interests
             that favor allowing this prosecution to proceed. We conclude
             that “[c]oncerns of public policy, especially as illuminated by
             our history and the structure of our government” compel the
             rejection of his claim of immunity in this case. See Fitzgerald,
             457 U.S. at 747–48. We also have considered his contention
             that he is entitled to categorical immunity from criminal
             liability for any assertedly “official” action that he took as
             President — a contention that is unsupported by precedent,
             history or the text and structure of the Constitution. Finally,
             we are unpersuaded by his argument that this prosecution is
             barred by “double jeopardy principles.” Accordingly, the order
             of the district court is AFFIRMED.16

                                                                       So ordered.



                  16
                      Amici former Attorney General Edwin Meese III and others
             argue that the appointment of Special Counsel Smith is invalid
             because (1) no statute authorizes the position Smith occupies and (2)
             the Special Counsel is a principal officer who must be nominated by
             the President and confirmed by the Senate. See U.S. CONST. art. II,
             § 2, cl. 2 (Appointments Clause). On appeal from a collateral order,
             we generally lack jurisdiction to consider issues that do not
             independently satisfy the collateral order doctrine unless we can
             exercise pendent jurisdiction over the issue. See Abney, 431 U.S. at
             663; Azima v. RAK Inv. Auth., 926 F.3d 870, 874 (D.C. Cir. 2019).
             Because the Appointments Clause issue was neither presented to nor
             decided by the district court, there is no order on the issue that could
             even arguably constitute a collateral order for us to review.
             Additionally, the exercise of pendent jurisdiction would be improper
             here, assuming without deciding that pendent jurisdiction is ever
             available in criminal appeals. See Abney, 431 U.S. at 663; Gilda
             Marx, Inc. v. Wildwood Exercise, Inc., 85 F.3d 675, 679 (D.C. Cir.
             1996).
